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            UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
__________________________________________
                                           )
GOODLUCK INDIA LIMITED,                    )
                                           )
                  Plaintiff,               )
                                           ) Court No. 18-00162
      v.                                   )
                                           )
UNITED STATES,                             )
                                           )
                  Defendant,               )
                                          )
            and                           )
                                          )
ARCELORMITTAL TUBULAR PRODUCTS,           )
MICHIGAN SEAMLESS TUBE, LLC,              )
PLYMOUTH TUBE CO. USA, PTC ALLIANCE )
CORP., WEBCO INDUSTRIES, INC., AND        )
ZEKELMAN INDUSTRIES, INC.,                )
                                          )
                  Defendant-Intervenors.  )
__________________________________________)

                    DEFENDANT’S CONSENT MOTION TO
               CORRECT ORDER ENTERED ON DECEMBER 3, 2019

       Pursuant to Rule 6(b) of the Rules of the United States Court of International

Trade, defendant, the United States, respectfully files this motion to correct the Order

entered on December 3, 2019, Dkt. No. 52, granting our motion for extension of time for

the Department of Commerce (Commerce) to file its remand determination. All parties

consent to this motion.

       On December 3, 2019, the Government filed a consent motion for extension of

time until December 23, 2019, for Commerce to file its remand determination. Dkt. No.

51. The Court granted our motion and entered the Government’s proposed order. Dkt.

No. 52. However, the Government’s proposed order inadvertently referred to plaintiff,
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Goodluck India Limited (Goodluck), as “Petitioner,” and the language of the order did

not precisely track the language of Rule 56.2(h). See id.

       Accordingly, the Government respectfully requests that the Court grant this

consent motion to correct and enter the attached proposed order. The corrected proposed

order refers to Goodluck as “Plaintiff,” and the language of the order more closely tracks

the precise language of Rule 56.2(h). The Government apologizes to the Court for the

inconvenience.




                                                     Respectfully submitted,

                                                     JOSEPH H. HUNT
                                                     Assistant Attorney General

                                                     JEANNE E. DAVIDSON
                                                     Director

                                                     s/ Claudia Burke
                                                     CLAUDIA BURKE
                                                     Assistant Director


OF COUNSEL:                                          s/ Ann C. Motto
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December 4, 2019                                     Attorneys for Defendant

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            UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: THE HONORABLE GARY S. KATZMANN, JUDGE
__________________________________________
                                           )
GOODLUCK INDIA LIMITED,                   )
                                           )
                  Plaintiff,               )
                                           ) Court No. 18-00162
      v.                                   )
                                           )
UNITED STATES,                            )
                                          )
                  Defendant,              )
                                          )
            and                           )
                                          )
ARCELORMITTAL TUBULAR PRODUCTS,           )
MICHIGAN SEAMLESS TUBE, LLC,              )
PLYMOUTH TUBE CO. USA, PTC ALLIANCE )
CORP., WEBCO INDUSTRIES, INC., AND        )
ZEKELMAN INDUSTRIES, INC.,                )
                                          )
                  Defendant-Intervenors   )
__________________________________________)

                                          ORDER

       Upon consideration of defendant’s consent motion to correct order entered on

December 3, 2019; it is hereby

       ORDERED that the remand determination shall proceed in accordance with the

following schedule:

 Commerce shall file its remand results                      December 23, 2019

 Commerce shall file an index of new record documents        January 6, 2020

 Parties shall file and serve comments in opposition to      February 5, 2020
 Commerce’s remand determination
 Defendant and other parties supporting Commerce’s           March 6, 2020
 remand determination shall file responsive comments
 Plaintiff shall file joint appendix                         March 20, 2020
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DATED: ___________________, 2019
       New York, New York                 Gary S. Katzmann, Judge




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